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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       PALM BEACH DIVISION

    LOUIS DIFRANCO

       Plaintiff,
                                                          CASE NO.:
    -vs-
                                                          JURY TRIAL DEMANDED
    OCWEN LOAN SERVICING, LLC,

      Defendant.
                                                      /

                                              COMPLAINT

           The Plaintiff, LOUIS DIFRANCO, sues the Defendant, OCWEN LOAN SERVICING,

 LLC, and in support thereof respectfully alleges the following:

                                     JURISDICTION AND VENUE

           1.       Plaintiff brings this action to recover statutorily prescribed damages for acts on the

  part of Defendant OCWEN LOAN SERVICING, LLC, in violation of the Telephone Consumer

  Protection Act of 1991, 47 U.S.C. § 227, et seq., (hereafter “TCPA”).

           2.       Jurisdiction of this Court arises under 28 U.S.C. § 1331 as this case presents a

  federal question.

           3.       Venue is appropriate with this Court under 28 U.S.C. §1391(b), as it is the judicial

  district in which the Defendant resides and transacts business.

                                                 PARTIES

           4.       Plaintiff, LOUIS DIFRANCO, is and was at all material times a natural person over

  the age of eighteen (18), who resides in Philadelphia, Pennsylvania.

           5.       Plaintiff, LOUIS DIFRANCO, is the regular user, carrier and subscriber of the

  cellular telephone numbers at issue, (###) ###-0333 and (###) ###-6569, and is the “called party”
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  with respect to the calls placed by the Defendant that give rise to this action, as further described

  herein. See Breslow v. Wells Fargo Bank, N.A., 755 F.3d 1265, 1266, 1267 Communications Reg.

  (P & F) 934, (11th Cir.2014); Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 643 (7th Cir.

  2012).

           6.    Defendant OCWEN LOAN SERVICING, LLC, (hereafter “OCWEN”) is and was

  at all material times a foreign limited liability company organized under the laws of the state of

  Delaware and authorized to transact business in the state of Florida. OCWEN maintains a

  registered agent for service of process in Florida and maintains its principal place of business at

  1661 Worthington Road, Ste 100, West Palm Beach, FL 33409.

                                    PERSONAL JURISDICTION

           7.    This Court possesses specific personal jurisdiction over OCWEN as a result of its

  acts within this District that violated the TCPA.

           8.    OCWEN maintains sufficient minimum contacts with this District, has

  purposefully availed itself of the privilege of doing business in this District, maintains a registered

  agent and principal place of business in Florida, and possesses such a significant and continuous

  presence in this District such as to be subject to the personal jurisdiction of this Court.

           9.    In addition, Plaintiff’s injuries alleged in this action arise from OCWEN’s mortgage

  loan servicing activities in Florida, and result from OCWEN’s tortious conduct in performing said

  activities within Florida, in violation of the TCPA.

                                     FACTUAL ALLEGATIONS

           10.   At all times material hereto, Defendant OCWEN sought to collect an alleged

  mortgage loan debt from Plaintiff LOUIS DIFRANCO that gave rise to the injuries for which

  Plaintiff seeks redress against OCWEN through this action.


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             11.      At all times material hereto, Defendant OCWEN was the “master servicer” of a

  mortgage loan owed by Plaintiff, for which U.S. Bank, N.A. (“U.S. Bank”) was at all material

  times the purported assignee and trustee.

             12.      In the later part of 2015, Defendant, OCWEN began initiating a campaign of

  autodialed calls (“robocalls”) to Plaintiff’s aforementioned cellular telephone numbers, (###) ###-

  0333 and (###) ###-6569, in an effort to collect the above described alleged mortgage loan debt.

             13.      On or about August 1, 2017, Plaintiff filed a Voluntary Petition for bankruptcy

  pursuant to Chapter 13 of the Bankruptcy Code in the United States Bankruptcy Court for the

  Eastern District of Pennsylvania, styled: In re: Louis DiFranco, Case No. 17-bk-15225-KRM,

  United States Bankruptcy Court, Eastern District of Pennsylvania (hereafter the “Subject

  Bankruptcy Action”) (Bankruptcy Dkt. 1),1 pertaining to certain debts, including but not limited

  to the subject alleged mortgage debt.

             14.      On August 29, 2017, Plaintiff filed his Schedules A/B, identifying the subject

  alleged mortgage debt, and identifying both the trustee, U.S. Bank, and identifying OCWEN’s

  aforementioned business address, as the creditor of said debt (Bankruptcy Dkt. 12).2

             15.      On September 5, 2017, a Meeting of Creditors Notice (Form 309I) was filed in the

  Subject Bankruptcy Action (Bankruptcy Dkt. 16), which stated that the Meeting of Creditors was

  scheduled to take place on October 11, 2017, and established a December 10, 2017 deadline for

  creditors to object to the debtor's discharge or to challenge dischargeability of certain debts, a

  January 9, 2018 deadline for creditors to file a proof of claim, and established the deadline to




  1
      A copy of the Bankruptcy Petition is attached hereto as Exhibit “A.”
  2
      A copy of the Schedules are attached hereto as Exhibit “B.” See pg. 18-19.

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  Object to Exemptions as thirty (30) days after the conclusion of the Meeting of Creditors. The

  Notice further states as follows, in relevant part: 3

             The filing of the case imposed an automatic stay against most collection activities.
             This means that creditors generally may not take action to collect debts from the
             debtors, the debtors' property, and certain codebtors. For example, while the stay
             is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
             property, or otherwise try to collect from the debtors. Creditors cannot demand
             repayment from debtors by mail, phone, or otherwise. Creditors who violate the
             stay can be required to pay actual and punitive damages and attorney's fees.

  Id. (emphasis added).

             16.      On September 8, 2017, a Certificate of Notice was filed (Bankruptcy Dkt. 17)

  identifying that the aforementioned Meeting of Creditors Notice was sent by the Bankruptcy

  Noticing Center to U.S. Bank, via OCWEN at its aforementioned business address, by way of first

  class mail on September 8, 2017.4

             17.      The Subject Bankruptcy Action was terminated on January 17, 2019.

             18.      Pursuant to 11 U.S.C. § 362(a), the filing of a Voluntary Petition for bankruptcy

  pursuant to Chapter 13 of the Bankruptcy Code “operates as a stay, applicable to all entities, of,”

  in relevant part, “any act to collect, assess, or recover a claim against the debtor that arose before

  the commencement of the case[.]”5 The stay remains in effect during the pendency of a bankruptcy

  proceeding unless a party seeking relief from the stay files a motion with the bankruptcy court

  requesting such relief, which may only be granted, after notice and a hearing, under the

  circumstances set forth under 11 U.S.C. § 362(d).

             19.      Neither OCWEN, nor the assignee/trustee of the alleged subject mortgage debt,

  U.S. Bank, ever filed a motion for relief from the stay in the Subject Bankruptcy Action.


  3
      A copy of the Meeting of Creditors Notice is attached hereto as Exhibit “C.”
  4
      A copy of the Certificate of Notice is attached hereto as Exhibit “D.”
  5
      Purusuant to 11 U.S.C. § 301(b), the commencement of such case “constitutes an order of relief under such chapter.”

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  Nevertheless, OCWEN continued to engage in its campaign of autodialed collection calls to

  Plaintiff’s cellular telephone during the pendency of the Subject Bankruptcy Action, despite notice

  of its pendency and despite the imposition of the stay prohibiting telephonic collection efforts.

         20.        Throughout the course of the telephone collection campaign described herein,

  Plaintiff consistently and repeatedly instructed OCWEN’s representatives to cease calling him on

  his cellular telephone numbers, and further advised OCWEN’s representatives of the pendency of

  the Subject Bankruptcy Action, and that he was represented by an attorney with respect to the

  subject alleged debt.

         21.        Despite   Plaintiff’s   clear   and   unambiguous    instructions   to   OCWEN’s

  representatives to stop calling, Defendant OCWEN continued undeterred in its campaign of

  initiating autodialed calls to Plaintiff’s cellular telephone numbers in an effort to collect the above

  described alleged debt, disregarding Plaintiff’s instructions to cease placing such calls, and

  disregarding the statutory court-imposed stay prohibiting such collection efforts, in violation of

  the TCPA.

         22.        Defendant OCWEN intentionally harassed and abused Plaintiff on numerous

  occasions by and through its agents and representatives during the time period prior to the filing

  of the Complaint in this action, including but not limited to:

               a. Calling Plaintiff’s cellular telephone numbers several times per day and on back to

  back days, with such frequency as can reasonably be expected to harass the Plaintiff.

               b.   Calling Plaintiff’s cellular telephone numbers in an attempt to collect the subject

  debt after Plaintiff demanded that Defendant cease calling;

               c. Calling Plaintiff’s aforementioned cellular telephone numbers and hanging up

  either prior to or as soon as Plaintiff, or the Plaintiff’s answering machine answered the call.


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            23.   Despite Plaintiff’s instructions to OCWEN to stop placing calls to his

  aforementioned cellular telephone numbers, Defendant OCWEN, in an effort to collect the above

  described alleged debt, proceeded to engage in conduct in violation of the TCPA, as described

  herein.

            24.   The telephone calls at issue were placed by Defendant OCWEN using an

  “automated telephone dialing system” as defined by the TCPA, 47 U.S.C. § 227(a)(1), which has

  the capacity to store or produce telephone numbers to be called, using a random or sequential

  number generator; and to dial such numbers (hereafter “ATDS” or “autodialer”). Specifically,

  Defendant initiated each of the calls at issue to Plaintiff’s aforementioned cellular telephone

  numbers using the “Aspect” dialing system, which at all material times consisted of server-based

  computer hardware that that included an inherent random number generator, paired with software

  that utilized the computer hardware’s random number generator functions in order to store and

  produce the numbers that were dialed by the “Aspect” dialing system, including the calls at issue

  to Plaintiff’s cellular telephone numbers. As such, the “Aspect” dialing system possessed at all

  material times the inherent and present capacity to operate as an ATDS as defined by the TCPA,

  and also had the capacity to function as a “predictive dialer.” Moreover, Ocwen has stipulated to

  Courts in Florida, including during a trial involving similar violations of the TCPA, that its

  “Aspect” dialing system is objectively an autodialer as defined by the TCPA.6

            25.   During the relevant time period prior to the filing of this Complaint, Defendant

  OCWEN placed hundreds of autodialed calls to Plaintiff on his aforementioned cellular telephone

  numbers.




  6
   See Exhibit “E” hereto, excerpt of trial transcript in Drew v. Ocwen, No. 8:14-cv-369-RAL-TGW (M.D. Fla.
  September 21, 2015), before the Honorable Richard A. Lazarra, p. 16:17 to 17:9.

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          26.     The calls at issue from OCWEN continued into the four (4) year period prior to the

  filing of this Complaint. Additionally, the statute of limitations under the TCPA was tolled prior

  to Plaintiff timely opting out of the settlement class in a certified class action case filed in the

  Northern District of Illinois, Snyder v. Ocwen Loan Servicing, LLC, Civ. No.14-08461 (N.D. Ill.

  2017), in which Plaintiff was at all times a member of the defined settlement class, pursuant to

  American Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974). See also Shelly Christianson v.

  Ocwen Loan Servicing, LLC, No: 0:17-cv-1525, 2018 WL 4283577, at *1 (D. Minn. Sept. 7,

  2018). As such, any calls that were initiated by Defendant to Plaintiff’s aforementioned cellular

  telephone numbers after October 27, 2010 are subject to liability under the TCPA. A copy of

  Plaintiff’s opt-out letter is attached hereto as Exhibit “F,” and a copy of the Declaration of the

  Settlement Administrator in the Snyder action, attaching the list of individuals excluded from the

  Snyder class, which includes Plaintiff’s name, is attached hereto as Exhibit “G.”

          27.     That Defendant OCWEN used an “automatic telephone dialing system” to place

  the calls at issue is further evidenced by the fact that on at least some of the answered calls, Plaintiff

  was greeted by a long pause of unnatural silence and/or an audible click/beep prior to a live

  representative joining the line. These are telltale signs of an automated telephone dialing system.

          28.     Defendant OCWEN initiated each of the calls at issue to Plaintiff’s aforementioned

  cellular telephone numbers without the “prior express consent” of Plaintiff as specified by the

  TCPA, 47 U.S.C. § 227(b)(1)(A).

          29.     Alternatively, Defendant OCWEN initiated each of the calls at issue to Plaintiff’s

  aforementioned cellular telephone numbers subsequent to Plaintiff’s revocation of any “prior

  express consent” Plaintiff may have previously provided to Defendant OCWEN, or that OCWEN

  mistakenly believed it had.


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          30.      Each of Defendant’s unwanted robocalls occupied Plaintiff’s cellular telephone

  line, even when the call was not answered, rendering the line unavailable for Plaintiff to place

  outbound calls and creating a material safety risk by making the line unavailable for emergency

  use. Plaintiff considered Defendant’s campaign of unwanted robocalls to be intrusive, harassing

  and an invasion of his right to privacy.

          31.      Additionally, none of the telephone calls at issue were placed by Defendant

  OCWEN to Plaintiff’s aforementioned cellular telephone numbers for “emergency purposes” as

  specified by the TCPA, 47 U.S.C. §227 (b)(1)(A).

          32.      Defendant OCWEN consents of and has knowledge and control of the collection

  activities of its agents and representatives, including supervisors, managers, affiliates, subsidiaries,

  divisions, employees, servants, partners, agents, vendors, assignees, transferees, collectors and/or

  contractors with respect to the collection activity alleged herein.

          33.      Defendant OCWEN has a corporate policy of using an automatic telephone dialing

  system and/or a pre-recorded or artificial voice message, just as it did when initiating the calls at

  issue to the Plaintiff’s cellular telephone number, as described herein.

          34.      Defendant OCWEN willfully and/or knowingly violated the TCPA with respect to

  the Plaintiff.

          35.      Despite having actual knowledge of its wrongdoing, Defendant OCWEN continued

  the campaign of harassment and abuse.

          36.      Defendant OCWEN’S corporate policy is structured to continue to call individuals

  like the Plaintiff, despite its lack of consent to place the calls, and despite the called parties’

  requests that OCWEN stop calling.




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          37.    Defendant OCWEN’S corporate policy provided no means for the Plaintiff to have

  his numbers removed from the call list.

          38.    Defendant OCWEN followed its corporate policies when attempting to

  communicate with the Plaintiff in an effort to collect the alleged debt described herein.

          39.    Defendant OCWEN has been the recipient of numerous complaints from debtors,

  alleged debtors, and non-debtors across the country, similar to those alleged in this action by

  Plaintiff.

          40.    Defendant OCWEN has or should be in possession and/or control of call logs,

  account notes, auto dialer reports and other records that detail the exact number of calls made to

  Plaintiff over the course of the relevant time period.

          41.    As a direct and proximate result of Defendant’s acts or omissions, as set forth

  herein, Plaintiff has suffered compensatory, statutory and actual damages in the form of emotional

  distress, anxiety, fear, worry, embarrassment and mental suffering, pain, anguish, and loss of

  capacity for the enjoyment of life.

          42.    All conditions precedent to the filing of this action have occurred or have otherwise

  been waived.

                                              COUNT I
                       VIOLATION OF THE TCPA AGAINST OCWEN

          43.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

  through (34), as if fully set forth herein, and further alleges as follows:

          44.    None of the calls at issue were placed by Defendant OCWEN to Plaintiff’s

  aforementioned cellular telephone numbers with the “prior express consent” of Plaintiff, as

  specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).


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         45.     Alternatively, Plaintiff revoked any “prior express consent” Defendant OCWEN

  had or mistakenly believed it had by verbally instructing Defendant to stop placing calls to his

  cellular telephone numbers.

         46.     Additionally, none of the calls at issue were placed by Defendant OCWEN to

  Plaintiff’s cellular telephone numbers for “emergency purposes” as specified by the TCPA, 47

  U.S.C. §227 (b)(1)(A).

         47.     Defendant OCWEN willfully and/or knowingly violated the TCPA with respect to

  Plaintiff LOUIS DIFRANCO by repeatedly placing non-emergency calls to Plaintiff’s

  aforementioned cellular telephone numbers using an automatic telephone dialing system and/or

  prerecorded or artificial voice message without Plaintiff’s prior express consent, and after Plaintiff

  instructed Defendant to cease calling, and in violation of the automatic stay prohibiting such

  telephonic collection activity during the pendency of the Subject Bankruptcy Action, as

  specifically prohibited by the TCPA, 47 U.S.C. §227(b)(1)(A)(iii).

         48.     The TCPA provides Plaintiff with a private right of action against Defendant

  OCWEN for its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. § 227(b)(3),

  and permits both injunctive relief and recovery of statutory damages.

         WHEREFORE, Plaintiff LOUIS DIFRANCO respectfully demands judgment against

  Defendant OCWEN for statutory damages, actual damages, costs, interest, an injunction from

  further violations of these parts, and for such other relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury of all issues so triable.

                                                 Respectfully submitted,

                                                 /s/David P. Mitchell_
                                                 David P. Mitchell, Esq.

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